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VIA ECF                                                                       November 27, 2020

The Honorable Alison J. Nathan
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     E.G., individually and as parent and natural guardian of A.I. and L.I., minor
               children, et. al. v. City of New York, et al., No. 20-cv-9879 (AJN)

Dear Judge Nathan:
        The undersigned counsel for the parties in the above-captioned action submit this joint
letter as directed by the Court’s Order, dated November 25, 2020 (Dkt. No. 17), directing the
parties to meet and confer concerning an agreed upon interim solution and, in the absence of
such agreement, to submit a proposed schedule (or schedules) on Plaintiffs’ Motion for a
Preliminary Injunction (Dkt. Nos. 6, 14, the “PI Motion”). The parties met and conferred earlier
today and jointly affirm that the meet-and-confer was conducted in good faith. The parties were
unable to reach agreement on an interim solution or on a proposed schedule for the PI Motion.
Accordingly, the parties set forth below their respective scheduling proposals:

             Event               Plaintiffs’ Proposal                Defendants’ Proposal
 Defendants’ Opposition          Dec. 2, 2020                        Dec. 9, 2020
 Plaintiffs’ Reply               Dec. 4, 2020                        Defendants take no position
 Oral Argument                   Dec. 7, 2020                        Defendants take no position

        Defendants state that they are committed to providing internet access to students residing
in shelters and have commenced WiFi installation at shelters in conjunction with the ongoing
deployment of significant resources by the New York City Department of Education to identify
and address remote access issues facing those students. While the parties are not able to reach an
agreement at this time, Defendants believe it would be constructive to build additional time into
the schedule in order to allow Defendants to collect and share additional information with
Plaintiffs in an effort to attempt to reach an agreement.

        Plaintiffs state that Defendant’s efforts, while appreciated, are insufficient to match the
scale of the problem. Plaintiffs note in this regard that Defendants reportedly have commenced
WiFi installation at only a small proportion of shelters (approximately 20 out of a total of 240
sites identified in Defendants’ prior correspondence as requiring attention). Therefore, Plaintiffs
continue to believe that urgent judicial intervention is needed. Plaintiffs welcome consensual
efforts to share information and attempt to reach an agreement on a solution, but submit that such
efforts need not and should not delay the judicial proceedings.

        The parties are available at the Court’s convenience to address any questions regarding
the issues addressed in this joint letter.
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Respectfully submitted,

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